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                UNITED STATES DISTRICT COURT

                SOUTHERN DISTRICT OF GEORGIA

                         STATESBORO DIVISION
TELLAS LEVALLAS KENNEDY,              )
                                      )
      Movant,                         )
                                      )
v.                                    )      Case No. CV616-122
                                      )                CR612-018
UNITED STATES OF AMERICA,             )
                                      )
      Respondent.                     )


                    REPORT AND RECOMMENDATION

      Convicted of conspiracy to distribute a controlled substance, Tellas

Kennedy moves for a second time under 28 U.S.C. § 2255 to vacate his

sentence and guilty plea.         See doc. 12751 (second § 2255 motion);

doc. 1160 (first § 2255 motion); see also CV615-116 (civil docket of first

§ 2255 motion). Judgment was entered denying his first § 2255 motion

on the merits in February 2016, doc. 1211, and Kennedy has not timely

appealed that decision 2 or sought authorization from the Eleventh


1
 All citations are to the criminal docket unless otherwise noted, and all page
numbers are those imprinted by the Court’s docketing software.
2
 See Fed. R. App. P. 4(a)(1)(B)(i) (movants have 60 days to appeal the district
court’s judgment to the Circuit Court of Appeals); Rule 11, Rules Governing Section
2255 Proceedings for the United States District Courts.
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Circuit to file a second § 2255 motion. See doc. 1275 at 3 (stating that he

“did not appeal the first 28 U.S.C. 2255 Motion” because his

understanding of the law was not then as proficient as it is now, after

several months of “prayer and meditation”). Preliminary review under

Rule 4 of the Rules Governing Section 2255 Proceedings shows that his

motion must be denied.

     To file a second or successive § 2255 motion, the movant is required

to first file an application with the appropriate court of appeals for an

order authorizing the district court to consider the motion. 28 U.S.C.

§ 2244(b)(3)(A); Farris v. United States, 333 F.3d 1211, 1216 (11th Cir.

2003). A panel of the court of appeals must certify that the second or

successive motion contains:

     (1) newly discovered evidence that, if proven and viewed in
     light of the evidence as a whole, would be sufficient to
     establish by clear and convincing evidence that no reasonable
     factfinder would have found the movant guilty of the offense;
     or

     (2) a new rule of constitutional law, made retroactive to cases
     on collateral review by the Supreme Court, that was
     previously unavailable.

28 U.S.C. § 2255(h); In re Anderson , 396 F.3d 1336, 1337 (11th Cir.

2005). “Without authorization” from the court of appeals, a “district

                                     2
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court lack[s] jurisdiction to consider [a movant’s] second or successive”

motion. Carter v. United States , 405 F. App’x 409, 410 (11th Cir. 2010).

      Since this Court dismissed Kennedy’s first § 2255 motion with

prejudice and he has not sought authorization from the Eleventh Circuit

to file a successive motion, there is no jurisdiction to consider his second

petition. United States v. Holt , 417 F.3d 1172, 1175 (11th Cir. 2005); s ee

also Medberry v. Crosby , 351 F.3d 1049, 1061 (11th Cir. 2003) (“when a

federal prisoner’s claims fall within the ambit of § 2255, the prisoner is

subject to that section’s restrictions”).

      Accordingly, Movant Tellas Levallas Kennedy’s second § 2255

motion should be DISMISSED for lack of jurisdiction.

      SO REPORTED AND RECOMMENDED, this 13th day of

September, 2016.



                                       LTh11ED STATES MAGISTRATE JUDGE
                                       SOIJTHIEKN DISTRICT OF GEORGIA




                                       3
